Case 1:04-cr-100ll-.]DT Document 42 Filed 05/17/05 Page 1 0f7 Pag |D 46 '

uNiTED sTATEs oisTRlcT couRT !@6,/
wEsTERN DlsTRlcT oF TENNEssEE 0 /.\_ §/
EAsTERN otvlsloN 5»!,,;},/ ` g oh

UN|TED STATES OF AMER|CA

.v. o4-10011-01-T

 

RAYMOND HARRY WARD
Diane Smothers FPD
Defense Attorney
109 S. High|and, Ste. B-8
Jackson, TN 38301

 

 

JUDGMENT |N A CRlMINAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 10, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Titie & section mitMen_s_e gm _NLberist
18 u.s.c. §§ 2113(3),(¢1) Armed Bank Robbery 11/26/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 2 dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until ali fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. 320-66*7988 Date of imposition of Sentence:
Defendant’s Date of Birth: 01/01/1976 May 11, 2005
Deft's U.S. |V|arsha| No.: 19342-076

Defendant's Mai|ing Acidress:
601 North i'-'ifth Street
Union City, TN 38261

  

JAM o. Tooo \

UN|TED STATES D|STR|CT JUDGE

lVlay [2 ,2005

Thls document entered on the docket sheet in com lance
with Hule 55 and/or 32(b) FFtCrP on

Li?i

Case 1:04-cr-100ll-.]DT Document 42 Filed 05/17/05 Page 2 of 7 Page|D 47

Case No: 1:0401'10011-01-T Defendant Name: Raymond Harry Ward Page 2 of 6
lMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 220 Months as to Count 1 of the |ndictment, to run
consecutively with sentence currently being served in Weakiey County Circuit No. CR50-
2003..

The Court recommends to the Bureau of Prisons: institution where defendant can
receive intensive substance abuse testing and treatment

The defendant is remanded to the custody of the United States |Vlarsha|.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Niarshai

Case 1:04-cr-100ll-.]DT Document 42 Filed 05/17/05 Page 3 of 7 PagelD 48

Case No: 1:04cr10011-01-T Defendant Name: Raymond Harry Ward Page 3 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 years as to Count 1 of the lndictment.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federall state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation ofticer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ofhcer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl trainingl or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shaii refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute. or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician. and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controiled substances are illegally sold, used,
distributedl or administered;

Case 1:04-cr-100ll-.]DT Document 42 Filed 05/17/05 Page 4 of 7 PagelD 49

Case No: 1:04cr10011-01-T Defendant Name: Raymond Harry Ward Page 4 of 6

8.

10.

11.

12.

13.

The defendant shall not associate with any persons engaged in criminal activity. and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation oft'icer;

The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

The defendant shall notify the probation ofhcer within 72 hours of being arrested or questioned by a
law enforcement oft"icer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

lf this judgment imposes a fine or a restitution obiigation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

release:

1.

The defendant shall participate as directed in a program of testing and treatment for
substance abuse as directed by the Probation Ofnce.

The defendant shall not incur new credit charges or open any additional lines of credit
without the permission of the U. S. Probation Officer, while any portion of the restitution
remains unpaid.

The defendant shall assist the Probation Office in the coilection of DNA, as directed by the
Probation Office.

Case 1:04-cr-100ll-.]DT Document 42 Filed 05/17/05 Page 5 of 7 PagelD 50

Case No: 1:04cr10011-01-T Defendant Name: Raymond Harry Ward Page 5 of 6

CR|MINAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date ofjudgrnentl pursuant to 18 U.S.C. §
3612(f). Ai| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $12,196.00

The Special Assessment shall be due immediately.
F|NE
No fine imposed.
REST|TUT|ON

Restitution in the amount of $12,196.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Priority Order
Total Amount Amount of or Percentage
Name of pause of Loss Restitut|on Ordered of Payment
FlRST CiTlZENS $12,196.00
NAT|ONAL BANK,
1509 Reelfoot Avenue

Union City, TN 38261

Restitution shall be paid in monthly installments equal to ten percent (10%) of the
defendants total gross monthly household income from all sources. The defendant shall be
required to reguiarly furnish proof of his gross monthly household income, upon which the amount
of monthly payments shall be based, to the U. S. Probation Officer.

|f the defendant makes a partial payment each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment

Case 1:04-cr-10011-.]DT Document 42 Filed 05/17/05 Page 6 of 7 PagelD 51

Case No: 1:04cr10011-01-'i' Defendant Name: Raymond Harry Ward Page 6 of 6

column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected iri the Statement of Reasons page.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 1:04-CR-100]1 Was distributed by faX, mail, or direct printing on
May ]7, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

